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'AO 245D (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet I



                                   UNITED STATES DISTRICT COURT
                                                    Middle District of_Alabama


         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                             V.                                         (For Revocation of Probation or Supervised Release)


               ROBERT L. WILSON                                         Case No          1 :01cr096-WHA-02
                                                                        USMNo.           10945-002
                                                                                                   Aylia McKee
                                                                                                 Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)         1 and 2 of the petition           of the term of supervision.
    was found in violation of condition(s)                                          after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                             Violation Ended
         1                   Failure to attend and complete 12-month inpatient substance abuse                          5/5/09
                                 treatment program at the Fellowship House, Birmingham, AL
         2                   Failure to notify the probation officer prior to any change in residence                   5/5/09




       The defendant is sentenced as provided in pages 2 through            2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has not violated condition(s)                              and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0258                                           November 19. 2009
                                                                                            D eofl  itio      gmen
Defendant's Year of Birth:        1962

City and State of Defendant's Residence:
                     Enterprise, AL
                                                                                                  Signature of Judge       7
                                                                                W. Harold Albritton. Senior U. S. District Judge
                                                                                            Name and Title of Judge

                                                                                f(
                                                                                 7
                                                                                   /y/o  /           'Date
               Case 1:01-cr-00096-WHA-SRW Document 146 Filed 11/19/09 Page 2 of 2
AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment

                                                                                                    Judgment - Page   2   of      2
DEFENDANT:                    ROBERT L. WILSON
CASE NUMBER:                  1 :01cr096-WHA-02

                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:
 12 months.
It is ORDERED that the term of supervised release imposed on April 12, 2002, is REVOKED. The court has taken into
consideration the policy statements in Chapter 7 of the Guidelines Manual, the guideline range, and all relevant information in
imposing the sentence at 18 months.


     X The court makes the following recommendations to the Bureau of Prisons:

          The court recommends that the Defendant be designated to a facility where drug counseling is available.



     LI The defendant is remanded to the custody of the United States Marshal.

     LI The defendant shall surrender to the United States Marshal for this district:
          LIat ____________________ LI am. 0 p.m. on ______
         LI as notified by the United States Marshal.

     LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         LIbefore 2 p.m. on ___________________________
         LI as notified by the United States Marshal.
         LI as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                         to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                           By
                                                                                             DEPUTY UNITED STATES MARSHAL
